     Case: 1:21-cv-00962 Document #: 32 Filed: 09/30/21 Page 1 of 2 PageID #:657




                  IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

HELEN ALLEN,                                          )
                                                      )
                  Plaintiff,                          )
                                                      ) 21-cv-00962
v.                                                    )
                                                      ) The Honorable Judge Mary Rowland
FORD MOTOR COMPANY,                                   )
                                                      ) Magistrate Judge Jeffrey Cummings
                  Defendant.                          )

       PLAINTIFF’S MOTION FOR LEAVE TO FILE SEALED SUPPLEMENTAL
                RESPONSE TO MOTION UNDER SEAL (DKT. 20)1

         NOW COMES, Helen Allen, Plaintiff, by and through her undersigned counsel, Cass T.

Casper, DISPARTI LAW GROUP, P.A., and moves this Honorable Court for leave to file a

Supplemental Response Under Seal to Motion at Docket Number 20 for the following reasons.

     1. Plaintiff’s counsel was retained on September 21, 2021 and accessed the sealed

         documents following Court approval on September 23, 2021 (Dkt. 31).

     2. On reviewing the material, Plaintiff’s counsel submits a supplemental response needs to

         be filed to address the issues raised in the Motion.

     3. The supplemental response is three pages and contains a proposed resolution to this issue,

         and is also sought to be filed under seal.

                                                 CONCLUSION

         For the foregoing reasons, Plaintiff respectfully requests that this Motion be granted, and

leave be allowed to file the supplemental response under seal.


                                                                Respectfully submitted,

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  The undersigned apologizes for this Motion being filed the morning of the September 30, 2021 status hearing, as
he has been in trial preparation for an Illinois Labor Relations Board case set for October 6 and 7, 2021 involving a
huge number of exhibits and 15 witnesses, as well as other matters. Matters in this case will be addressed more
timely moving forward.
     Case: 1:21-cv-00962 Document #: 32 Filed: 09/30/21 Page 2 of 2 PageID #:658




                                                   HELEN ALLEN

                                                   By:   /s/ Cass T. Casper
                                                   ________________________________
                                                         Her Attorney
Cass T. Casper, Esq.
DISPARTI LAW GROUP, P.A.
121 West Wacker Drive, Suite 2300
Chicago, Illinois 60601
Phone: (312) 506-5511 ext. 331
Email: ccasper@dispartilaw.com

                               CERTIFICATE OF SERVICE

        The undersigned certifies that on September 30, 2021 he served the foregoing document

on all counsel for Defendants via this Court’s CM/ECF Filing System, and that all such counsels

are registered e-filers.

                                                   /s/ Cass T. Casper
                                                   _______________________________
                                                   Cass T. Casper, Esq.
